 1   DAVID BURCHARD,
     CHAPTER 13 TRUSTEE
 2   PO BOX 8059
     FOSTER CITY, CA 94404
 3   Tel: (650) 345–7801 Fax: (650) 345–1514
     Tel: (707) 544-5500 Fax: (707) 544-0475
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 5
                             UNITED STATES BANKRUPTCY COURT
 6
                             NORTHERN DISTRICT OF CALIFORNIA
 7

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                                                    )
10   In re                                          )       Case No.: 19-10074 DM
                                                    )
11   ANA KAREN ESQUIVEL DE VELEZ                    )       TRUSTEE’S OBJECTION TO DEBTOR’S
                                                    )       MOTION TO MODIFY CHAPTER 13
12                      Debtor.                     )       PLAN
                                                    )
13                                                  )
                                                    )
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15   TO THE UNITED STATES BANKRUPTCY JUDGE, DEBTOR(S)’ COUNSEL,
16   DEBTOR(S), AND OTHER PARTIES IN INTEREST:
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18           David Burchard, Chapter 13 Trustee (“Trustee”), for the Santa Rosa and San Francisco
19   Divisions of the United States Bankruptcy Court for the Northern District of California, hereby
20   submits the following Objection to the Motion to Modify Chapter 13 Plan proposed by
21   Debtor(s), filed on July 27, 2020. This objection is based upon all pleadings, papers and
22   documents filed herein, together with those matters of which judicial notice has been requested,
23   and any oral argument, which may be presented.
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 1          The Trustee is unable to verify the basis for the motion to modify and Debtor’s
 2   substantial change in income and/or expenses without Debtor providing the following
 3   information:
 4

 5                  Updated Schedules I and J, utilizing the schedules effective December 2015.
 6           X      A signed copy of the debtor’s filed 2019 Federal Income Tax Return
 7                  Verification of income to substantiate change in plan payments in the form of
 8                  payment advices for the last 60 days. If the debtor does not receive payment
 9                  advices, the Trustee requests copies of bank statements for the last 2 months from
10                  all bank accounts in which debtor is a signatory.
11                  Other:
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13          Therefore, the Trustee requests that this objection be sustained, Debtor’s Application to
14   Modify Chapter 13 Plan be denied, and other relief this Court deems proper.
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16   Dated: August 12, 2020                        /s/ David Burchard
                                                   DAVID BURCHARD
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                                                   CHAPTER 13 TRUSTEE
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 1                                    CERTIFICATE OF SERVICE
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 3   I am over the age of 18 years and not a party to this action. I am employed by the Trustee whose
 4   business address is 1065 E. Hillsdale Blvd., Suite #200,Foster City, CA. On the date set forth
 5   below, I served a true and correct copy of TRUSTEE’S OBJECTION TO DEBTOR’S
 6   MOTION TO MODIFY CHAPTER 13 PLAN and this Certificate of Service, on the persons
 7   listed below by following our ordinary business practice for service, which is either deposited in
 8   the ordinary course of business with the U.S. Postal Service by first class mail or served by
 9   electronic transmission from the Court, if applicable. I declare under penalty of perjury under
10   the laws of the United States of America that the foregoing is true and correct.
11

12
     ANA KAREN ESQUIVEL DE VELEZ
13   2653 MONUMENT DR
     SANTA ROSA, CA 95407
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15
     The following recipients have been served via Court’s Notice of Electronic Filing:
16
     EVAN LIVINGSTONE
17   evanmlivingstone@gmail.com
18

19
     Dated: August 12, 2020                                LIZ WHIGHAM
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                                                          LIZ WHIGHAM
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